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                                                               APPEAL,CLOSED,TYPE−E
                              U.S. District Court
                   District of Columbia (Washington, DC)
             CIVIL DOCKET FOR CASE #: 1:23−cv−00688−CKK
                               Internal Use Only

LOMA LINDA−INLAND CONSORTIUM FOR                  Date Filed: 03/14/2023
HEALTHCARE EDUCATION v. NATIONAL LABOR            Date Terminated: 04/11/2023
RELATIONS BOARD et al                             Jury Demand: None
Assigned to: Judge Colleen Kollar−Kotelly         Nature of Suit: 899 Administrative
Cause: 42:2000 Religion                           Procedure Act/Review or Appeal of
                                                  Agency Decision
                                                  Jurisdiction: U.S. Government Defendant
Plaintiff
LOMA LINDA−INLAND                    represented by Jeffrey A. Berman
CONSORTIUM FOR HEALTHCARE                           SEYFARTH SHAW LLP
EDUCATION                                           2029 Century Park East
doing business as                                   Suite 3500
LOMA LINDA UNIVERSITY                               Los Angeles, CA 90067
SELF−EDUCATION CONSORTIUM                           310−201−1541
                                                    Email: jberman@seyfarth.com
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

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                                                   975 F Street, NW
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                                                   202−828−3520
                                                   Email: mberkheimer@seyfarth.com
                                                   LEAD ATTORNEY
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                                                   Samantha Leader Brooks
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                                                   Fax: (202) 641−9209
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                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED


V.
Defendant


                                                                                            1
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NATIONAL LABOR RELATIONS               represented by Aaron Samsel
BOARD                                                 National Labor Relations Board
                                                      1015 Half Street SE
                                                      4th Floor
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                                                      202−273−1923
                                                      Email: aaron.samsel@nlrb.gov
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      David Paul Boehm
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                                                      Email: david.boehm@nlrb.gov
                                                      LEAD ATTORNEY
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                                                      Fax: (202) 273−4244
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                                                      ATTORNEY TO BE NOTICED

                                                      Tyler James Wiese
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                                                      Contempt, Compliance, and Special
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                                                      Fourth Floor
                                                      Washington, DC 20003
                                                      952−703−2891
                                                      Email: tyler.wiese@nlrb.gov
                                                      ATTORNEY TO BE NOTICED


Date Filed   #   Docket Text
03/14/2023   1   COMPLAINT against NATIONAL LABOR RELATIONS BOARD ( Filing fee $ 402


                                                                                          2
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                 receipt number ADCDC−9925503) filed by LOMA LINDA−INLAND
                 CONSORTIUM FOR HEALTHCARE EDUCATION D/B/A LOMA LINDA
                 UNIVERSITY SELF−EDUCATION CONSORTIUM. (Attachments: # 1 Civil Cover
                 Sheet, # 2 Summons Attorney General, # 3 Summons DC USAA, # 4 Summons
                 NLRB)(Brooks, Samantha) (Entered: 03/14/2023)
03/15/2023       Case Assigned to Judge Colleen Kollar−Kotelly. (zsl) (Entered: 03/15/2023)
03/15/2023   2   SUMMONS (3) Issued Electronically as to NATIONAL LABOR RELATIONS
                 BOARD, U.S. Attorney and U.S. Attorney General (Attachment: # 1 Notice and
                 Consent)(zsl) (Entered: 03/15/2023)
03/15/2023   3   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                 Interests by LOMA LINDA−INLAND CONSORTIUM FOR HEALTHCARE
                 EDUCATION (Brooks, Samantha) (Entered: 03/15/2023)
03/16/2023   4   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Michael Berkheimer,
                 Filing fee $ 100, receipt number ADCDC−9932177. Fee Status: Fee Paid. by LOMA
                 LINDA−INLAND CONSORTIUM FOR HEALTHCARE EDUCATION.
                 (Attachments: # 1 Declaration Declaration of Michael Berkheimer, # 2 Text of
                 Proposed Order Proposed Order)(Brooks, Samantha) (Entered: 03/16/2023)
03/17/2023       MINUTE ORDER: The Court is in receipt of Plaintiff's 4 Motion for Admission Pro
                 Hac Vice as to Michael Berkheimer. Counsel Berkheimer represents that they practice
                 from an office located in the District of Columbia and that their application for
                 admission to the Bar of the District of Columbia is pending. Counsel Berkheimer does
                 not represent that they have applied for admission to the bar of this jurisdiction.
                 Pursuant to LCvR 83.2(c)(2) and the comment thereto, the 13 Motion for Admission
                 Pro Hac Vice as to Michael Berkheimer is DENIED WITHOUT PREJUDICE. The
                 Court will grant admission pro hac vice only after counsel Berkheimer submits an
                 Application for Admission to the Bar of the United States District and Bankruptcy
                 Courts for the District of Columbia. Signed by Judge Colleen Kollar−Kotelly on
                 March 17, 2023. (lcckk1) (Entered: 03/17/2023)
03/21/2023   5   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Michael Dean
                 Berkheimer, Filing fee $ 100, receipt number ADCDC−9941729. Fee Status: Fee Paid.
                 by LOMA LINDA−INLAND CONSORTIUM FOR HEALTHCARE EDUCATION.
                 (Attachments: # 1 Declaration, # 2 Text of Proposed Order)(Brooks, Samantha)
                 (Entered: 03/21/2023)
03/21/2023       MINUTE ORDER: The Court is in receipt of Plaintiff's renewed 5 Motion for
                 Admission Pro Hac Vice as to Michael Berkheimer. Per the Court's March 17, 2023
                 minute order, counsel Berkheimer represents that he has since submitted an application
                 for admission to the Bar of the United States District and Bankruptcy Courts for the
                 District of Columbia. As such, Plaintiff's renewed 5 Motion for Admission Pro Hac
                 Vice as to Michael Berkheimer is GRANTED. Counsel should register for e−filing
                 via PACER and file a notice of appearance pursuant to LCvR 83.6(a) Click for
                 instructions. Signed by Judge Colleen Kollar−Kotelly on March 21, 2023. (lcckk1)
                 (Entered: 03/21/2023)
03/21/2023   6   MOTION for Preliminary Injunction by LOMA LINDA−INLAND CONSORTIUM
                 FOR HEALTHCARE EDUCATION. (Attachments: # 1 Memorandum in Support, # 2
                 Exhibit Exhibit A, # 3 Exhibit Exhibit B, # 4 Exhibit Exhibit C, # 5 Exhibit Exhibit D,
                 # 6 Exhibit Exhibit E, # 7 Exhibit Exhibit F, # 8 Exhibit Exhibit G, # 9 Exhibit Exhibit
                 H, # 10 Exhibit Exhibit I, # 11 Exhibit Exhibit J, # 12 Exhibit Exhibit K, # 13 Exhibit

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                  Exhibit L, # 14 Exhibit Exhibit M, # 15 Exhibit Exhibit N, # 16 Exhibit Exhibit O, #
                  17 Exhibit Exhibit P, # 18 Text of Proposed Order Proposed Order)(Brooks,
                  Samantha) (Entered: 03/21/2023)
03/21/2023    7   NOTICE of Appearance by David Paul Boehm on behalf of NATIONAL LABOR
                  RELATIONS BOARD (Boehm, David) (Entered: 03/21/2023)
03/21/2023        MINUTE ORDER: The Court is in receipt of Plaintiff's 6 Motion for Preliminary
                  Injunction, in which Plaintiff implies that counsel for Defendant, which has not yet
                  been served, is aware of the 6 Motion. The parties shall appear for a status conference
                  on March 23, 2023 at 4:00 PM ET, to proceed via Zoom. Plaintiff shall serve the 1
                  Complaint and 6 Motion via email upon counsel for Defendant forthwith if it has not
                  done so already.. Signed by Judge Colleen Kollar−Kotelly on March 21, 2023.
                  (lcckk1) (Entered: 03/21/2023)
03/21/2023        Set/Reset Hearings: Status Conference set for 3/23/2023 at 4:00 PM via
                  Telephonic/VTC before Judge Colleen Kollar−Kotelly. (dot) (Entered: 03/22/2023)
03/22/2023    8   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Jeffrey A. Berman,
                  Filing fee $ 100, receipt number ADCDC−9944323. Fee Status: Fee Paid. by LOMA
                  LINDA−INLAND CONSORTIUM FOR HEALTHCARE EDUCATION.
                  (Attachments: # 1 Declaration, # 2 Text of Proposed Order)(Brooks, Samantha)
                  (Entered: 03/22/2023)
03/22/2023        RESOLVED...NOTICE of Provisional/Government Not Certified Status re 7 NOTICE
                  of Appearance by David Paul Boehm on behalf of NATIONAL LABOR
                  RELATIONS BOARD (Boehm, David).

                  Your attorney renewal/government certification has not been received. As a result,
                  your membership with the U.S. District & Bankruptcy Courts for the District of
                  Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                  Civil Rule 83.9, you must immediately correct your membership status by following
                  the appropriate instructions on this page of our website:
                  https://www.dcd.uscourts.gov/attorney−renewal.

                  Please be advised that the presiding judge in this case has been notified that you are
                  currently not in good standing to file in this court. Renewal Due by 3/29/2023. (zmrl)
                  Modified on 3/22/2023 (zbaj). (Entered: 03/22/2023)
03/22/2023    9   NOTICE of Appearance by Aaron Samsel on behalf of NATIONAL LABOR
                  RELATIONS BOARD (Samsel, Aaron) (Main Document 9 replaced on 3/22/2023)
                  (zjm). (Entered: 03/22/2023)
03/22/2023   10   NOTICE of Appearance by Tyler James Wiese on behalf of NATIONAL LABOR
                  RELATIONS BOARD (Wiese, Tyler) (Entered: 03/22/2023)
03/22/2023   11   ORDER ESTABLISHING PROCEDURES FOR CASES ASSIGNED TO JUDGE
                  COLLEEN KOLLAR−KOTELLY. Signed by Judge Colleen Kollar−Kotelly on
                  3/22/23. (DM) (Entered: 03/22/2023)
03/22/2023        MINUTE ORDER granting 8 Motion for Leave to Appear Pro Hac Vice as to Jeffrey
                  A. Berman. Counsel shall register for e−filing via PACER and file a notice of
                  appearance pursuant to LCvR 83.6(a) forthwith Click for instructions. Signed by
                  Judge Colleen Kollar−Kotelly on March 22, 2023. (lcckk1) (Entered: 03/22/2023)



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03/23/2023   12   NOTICE of Appearance by Michael Dean Berkheimer on behalf of LOMA
                  LINDA−INLAND CONSORTIUM FOR HEALTHCARE EDUCATION
                  (Berkheimer, Michael) (Entered: 03/23/2023)
03/23/2023   13   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                  United States Attorney. Date of Service Upon United States Attorney on 3/16/2023.
                  Answer due for ALL FEDERAL DEFENDANTS by 5/15/2023. (Brooks, Samantha)
                  Modified on 3/24/2023 to correct date served and answer date (zjm). (Entered:
                  03/23/2023)
03/23/2023   14   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. LOMA
                  LINDA−INLAND CONSORTIUM FOR HEALTHCARE EDUCATION served on
                  3/21/2023 (Brooks, Samantha) Modified on 3/24/2023 to correct date served (zjm).
                  (Entered: 03/23/2023)
03/23/2023        Minute Entry for videoconference proceedings held before Judge Colleen
                  Kollar−Kotelly: Status Conference held on 3/23/2023. Scheduling Order forthcoming.
                  (Court Reporter Lisa Edwards.) (dot) (Entered: 03/23/2023)
03/24/2023        MINUTE ORDER: For the reasons stated on the record, Defendant shall file its
                  opposition to Plaintiff's 6 Motion for Preliminary Injunction on or before March 31,
                  2023, and Plaintiff shall file its reply on or before April 3, 2023. Pursuant to LCvR
                  65.1, the Court will rule on or before April 11, 2023. Signed by Judge Colleen
                  Kollar−Kotelly on March 24, 2023. (lcckk1) (Entered: 03/24/2023)
03/24/2023   15   NOTICE of Appearance by Kevin Patrick Flanagan on behalf of NATIONAL LABOR
                  RELATIONS BOARD (Flanagan, Kevin) (Entered: 03/24/2023)
03/24/2023        NOTICE OF ERROR re 13 Summons Returned Executed as to US Attorney; emailed
                  to sbrooks@seyfarth.com, cc'd 11 associated attorneys −− The PDF file you docketed
                  contained errors: 1. Notice of Corrected Docket Entry: Your entry has been
                  modified as a courtesy. Please note the appropriate reminders for future filings; do not
                  refile document, 2. Please note the following for future filings; do not refile
                  document, 3. Counsel reminded to file return of service for each individual and enter
                  the date served or date of delivery.. (zjm, ) (Entered: 03/24/2023)
03/24/2023   16   NOTICE of Appearance by Jeffrey A. Berman on behalf of LOMA LINDA−INLAND
                  CONSORTIUM FOR HEALTHCARE EDUCATION (Berman, Jeffrey) (Entered:
                  03/24/2023)
03/28/2023   17   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                  United States Attorney General. Date of Service Upon United States Attorney General
                  March 21, 2023. (Brooks, Samantha) (Entered: 03/28/2023)
03/31/2023   18   RESPONSE re 6 MOTION for Preliminary Injunction and Motion to Transfer Venue
                  filed by NATIONAL LABOR RELATIONS BOARD. (Attachments: # 1 Exhibit
                  Stipulation Before Agency in Representation Case, # 2 Exhibit Charge Filed by Union,
                  # 3 Exhibit Transcript Excerpts, # 4 Exhibit Consortium Statement of Position, # 5
                  Text of Proposed Order Proposed Order)(Boehm, David) (Entered: 03/31/2023)
03/31/2023   19   MOTION to Transfer Case to Central District of California and Opposition to Motion
                  for Preliminary Injunction by NATIONAL LABOR RELATIONS BOARD.
                  (Attachments: # 1 Exhibit Stipulation Before Agency in Representation Case, # 2
                  Exhibit Charge Filed by Union, # 3 Exhibit Transcript Excerpts, # 4 Exhibit
                  Consortium Statement of Position, # 5 Text of Proposed Order Proposed


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                  Order)(Boehm, David) (Entered: 03/31/2023)
04/03/2023   20   Memorandum in Opposition re 19 MOTION to Transfer Case to Central District of
                  California and Opposition to Motion for Preliminary Injunction filed by LOMA
                  LINDA−INLAND CONSORTIUM FOR HEALTHCARE EDUCATION.
                  (Attachments: # 1 Exhibit GC 21−04 Mandatory Submissions, # 2 Exhibit JD−14−23
                  Saint Leo's University, Inc, # 3 Exhibit Saint Leo's GC Brief, # 4 Exhibit GC 23−04
                  Status Update, # 5 Exhibit Board Docket, # 6 Exhibit General Conference Articles of
                  Incorporation, # 7 Exhibit Declaration of Doukmetzian, # 8 Exhibit Court Case
                  Statistics, # 9 Exhibit Stipulation from Representation Proceeding, # 10 Exhibit
                  Resident Job Description, # 11 Exhibit Resident Training Agreement)(Berkheimer,
                  Michael) Modified event title on 4/4/2023 (znmw). (Entered: 04/03/2023)
04/03/2023   21   REPLY to opposition to motion re 6 MOTION for Preliminary Injunction filed by
                  LOMA LINDA−INLAND CONSORTIUM FOR HEALTHCARE EDUCATION.
                  (See Docket Entry 20 to view document). (znmw) (Entered: 04/04/2023)
04/05/2023   22   ENTERED IN ERROR.....NOTICE Regarding Conclusion of Submission of Evidence
                  in Administrative Hearing in NLRB Case 31−RC−312064 by NATIONAL LABOR
                  RELATIONS BOARD (Boehm, David) Modified on 4/6/2023 (zjm). (Entered:
                  04/05/2023)
04/06/2023        NOTICE OF ERROR regarding 22 Notice (Other). The following error(s) need
                  correction: Incorrect format (Letter)− correspondence is not permitted (LCvR 5.1(a)).
                  Please refile. (zjm) (Entered: 04/06/2023)
04/06/2023   23   NOTICE OF CLOSURE OF REPRESENTATION−CASE HEARING IN CASE
                  31−RC−312064 by NATIONAL LABOR RELATIONS BOARD (Boehm, David)
                  (Entered: 04/06/2023)
04/11/2023   24   ORDER dismissing case sua sponte for lack of subject matter jurisdiction, denying as
                  moot 6 Motion for Preliminary Injunction, and denying as moot 20 Motion to Transfer
                  Venue. The Clerk of Court is respectfully directed to terminate all pending motions
                  and close this case. Signed by Judge Colleen Kollar−Kotelly on April 11, 2023.
                  (lcckk1) (Entered: 04/11/2023)
04/11/2023   25   MEMORANDUM OPINION re 24 Order. Signed by Judge Colleen Kollar−Kotelly on
                  April 11, 2023. (lcckk1) (Entered: 04/11/2023)
04/27/2023   26   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 24 Order, 25 Memorandum &
                  Opinion by LOMA LINDA−INLAND CONSORTIUM FOR HEALTHCARE
                  EDUCATION. Filing fee $ 505, receipt number ADCDC−10032000. Fee Status: Fee
                  Paid. Parties have been notified. (Berkheimer, Michael) (Entered: 04/27/2023)




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                           )
Loma Linda – Inland Empire Consortium                      )
For Healthcare Education                                   )
d/b/a                                                      )
Loma Linda University Health                               )
Education Consortium                                       )
11175 Campus Street                                        )
Loma Linda, CA 92354                                       )
                                                           )
Plaintiff                                                  )
                                                           ) Civil Action No. 21-cv-00688-CKK
         v.                                                )
                                                           )
National Labor Relations Board                             )
1015 Half Street, SE                                       )
Washington, DC 20003                                       )
                                                           )
                  Defendant                                )



                              PLAINTIFF’S NOTICE OF APPEAL

         Notice is hereby given that Plaintiff Loma Linda – Inland Empire Consortium for

Healthcare Education d/b/a Loma Linda University Health Education Consortium appeals to the

United States Court of Appeals for the District of Columbia Circuit from the final judgment

entered by this Court on April 11, 2023. See Docs: 24 and 25



                                             Respectfully submitted,

                                             SEYFARTH SHAW LLP
                                             /s/ Michael D. Berkheimer

                                             Michael D. Berkheimer (admitted pro hac vice)
                                             Samantha L. Brooks (D.C. Bar. No. 1033641)
                                             Jack Toner
                                             Seyfarth Shaw LLP
                                             975 F Street


93679692v.2

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                                          Suite 3100
                                          San Francisco, CA 94105-2930
                                          Attorneys for Loma Linda University Health
                                          Education Consortium
Dated: April 27, 2023




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                                 CERTIFICATE OF SERVICE

         I certify that a true copy of the foregoing Plaintiff Loma Linda – Inland Empire

Consortium for Healthcare Education d/b/a Loma Linda University Health Education

Consortium Notice of Appeal was filed by CM/ECF, on this 27th day of April 2023. All parties

will receive notice and service of this Notice of Appeal via the CM/ECF system.


                                              /s/ Michael D. Berkheimer
                                              Michael D. Berkheimer


                                              April 27 2023




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 LOMA LINDA––INLAND EMPIRE
 CONSORTIUM FOR HEALTHCARE
 EDUCATION,
     Plaintiff                                                Civil Action No. 23-0688 (CKK)
     v.
 NATIONAL LABOR RELATIONS BOARD,
      Defendant.

                                                  ORDER
                                               (April 11, 2023)

          For the reasons stated in the accompanying Memorandum Opinion, it is hereby

          ORDERED, that this case is DISMISSED for lack of subject matter jurisdiction. It is
further

    ORDERED, that Plaintiff’s [6] Motion for Preliminary Injunction is DENIED AS
MOOT. It is further

       ORDERED, that Defendant’s [20] Motion to Transfer Venue Pursuant to 28 U.S.C. §
1404(a) is DENIED AS MOOT.

          SO ORDERED.

          This is a final, appealable order.

Dated: April 11, 2023
                                                             /s/
                                                          COLLEEN KOLLAR-KOTELLY
                                                          United States District Judge




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    LOMA LINDA––INLAND EMPIRE
    CONSORTIUM FOR HEALTHCARE
    EDUCATION,
        Plaintiff                                        Civil Action No. 23-0688 (CKK)
        v.
    NATIONAL LABOR RELATIONS BOARD,
         Defendant.

                                 MEMORANDUM OPINION
                                     (April 11, 2023)

        On February 13, 2023, Defendant National Labor Relations Board (“NLRB”)

commenced an administrative proceeding in California against Plaintiff Loma Linda––Inland

Empire Consortium for Healthcare Education (“Plaintiff” or “Consortium”) to determine whether

the Consortium must collectively bargain with a local union which filed a petition with the

NLRB. The Consortium, a California resident with no ties to the District of Columbia, has

moved this Court for preliminary injunctive relief enjoining the proceedings. Binding appellate

precedent instructs that a district court lacks jurisdiction over any challenge to an NLRB

proceeding where a litigant may subsequently receive relief on appeal. Because such relief

remains available to the Consortium, and upon consideration of the pleadings, 1 the relevant legal

authorities, and the record as a whole, the Court sua sponte DISMISSES this case for lack of


1
 The Court’s consideration has focused on the following documents:
 • Plaintiff’s Complaint, ECF No. 1;
 • Plaintiff’s Motion for Preliminary Injunction, ECF No. 6;
 • Defendant’s combined opposition and Motion to Transfer Venue Pursuant to 28 U.S.C. §
     1404(a), ECF No. 19; and
 • Plaintiff’s combined Opposition to the National Labor Relations Board’s Motion to Transfer
     Venue and Reply to Opposition to Motion for Preliminary Injunction, ECF No. 20.
In an exercise of its discretion, the Court finds that holding oral argument in this action would
not be of assistance in rendering a decision. See LCvR 7(f).
                                                 1


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jurisdiction and DENIES AS MOOT Plaintiff’s [6] Motion for Preliminary Injunction and

Defendant’s [19] Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404(a).

                                       I. BACKGROUND

       For present purposes, the Court shall take Plaintiff’s allegations as true. The Consortium

is a non-profit corporation affiliated with the Seventh-day Adventist Church (“Church”).

Declaration of Dr. Dan Giang, ECF No. 6-2 ¶ 3 (“Giang Decl.”). Although affiliated with

hospitals and clinics in California that provide medical services, the Consortium’s programming

is limited to teaching medical students and residents how to provide medical care through

“Christ-centered Graduate Medical Education.” Id. at 8; Declaration of Dr. David Trim, ECF

No. 6-15 ¶ 12 (“Trim Decl.”). The Consortium defines such education as that which

“continue[s] the healing ministry of Jesus Christ, ‘to make man whole,’ in a setting of advancing

medical science and to provide a stimulating clinical and research environment for the education

of physicians, nurses[,] and other health professionals.” Giang Decl. at 32.

       On February 13, 2023, a local chapter of the Union of American Physicians and Dentists

(“Union”) filed a petition with NLRB Region 31 on behalf of residents and fellows employed at

Consortium institutions who wanted to unionize. ECF No. 6-9. This petition commenced

“representation” proceedings, in which a local NLRB office determines whether a particular

union may represent certain employees in collective bargaining with their employer. See 29

U.S.C. § 159(c). The administrative matter was docketed before the Regional Director for

Region 31, covering much of southern California, as Case 31-RC-312064. ECF No. 6-9 at 4.

Pursuant to 29 U.S.C. § 159, the Regional Director ordered the parties to provide initial briefing

and set a representation (i.e., merits) hearing for March 6, 2023. Id. at 11.




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        On February 27, 2023, the Consortium requested that the Regional Director bifurcate the

proceedings in order to first determine whether the NLRB had jurisdiction over the Union’s

petition. Id. at 24. The Consortium argued, as it does again here, that the NLRB lacked

jurisdiction over the Consortium as a religious teaching institution. Id. at 24-32. The Regional

Director denied this request, although they continued the representation hearing itself to March

13, 2023. Id. at 44. The Consortium then requested on March 2, 2023 that the NLRB reverse the

Regional Director’s decision to proceed to the representation hearing, which was denied by a

three-member panel one day later. Id. at 59. The Consortium filed its operative complaint on

March 14, 2023, and moved this Court on March 21, 2023 to preliminarily stay or vacate the

representation proceedings as beyond the NLRB’s jurisdiction. The representation hearing went

forward and concluded on April 5, 2023, and post-hearing briefs are due April 19, 2023. ECF

No. 23 at 1. If the Regional Director concludes that the Union may represent the Consortium’s

employees, then they will order an election by secret ballot to determine whether the Union may

represent the employees in collective bargaining with the Consortium. See 29 U.S.C. § 153(b).

                                      II. LEGAL STANDARD

        A plaintiff bears the burden of establishing that a federal court has subject matter

jurisdiction. Moms Against Mercury v. FDA, 483 F.3d 824, 828 (D.C. Cir. 2007). “Federal

courts are courts of limited jurisdiction . . . [and it] is to be presumed that a cause lies outside this

limited jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). A

federal court can, and must, raise subject matter jurisdiction sua sponte if the parties do not, for

federal courts are “forbidden––as courts of limited jurisdiction––from acting beyond their

authority, and no action of the parties can confer subject-matter jurisdiction upon a federal

court.” Athens Cmty. Hosp., Inc. v. Schweiker, 686 F.2d 989, 992 (D.C. Cir. 1982) (cleaned up).



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                                        III. DISCUSSION

       As a general rule, Congress has vested only the federal Courts of Appeals with

jurisdiction to review decisions of the NLRB. Myers v. Bethlehem Shipbuilding Corp., 303 U.S.

41, 47 (1938); 29 U.S.C. § 160(f). In Leedom v. Kyne, the Supreme Court recognized only the

narrowest of exceptions. 358 U.S. 184, 188 (1958). Leedom sets forth a two-part test for a

district court to exercise jurisdiction: (1) “the agency’s alleged conduct must be contrary to a

specific statutory prohibition that is both clear and mandatory;” and (2) “the party aggrieved

must have no other meaningful and adequate mean[s] of vindicating its statutory rights.” Am.

Fed. of Gov’t Emps., Local 2510 v. FLRA, 453 F.3d 500, 506 (D.C. Cir. 2006) (cleaned up). The

Leedom exception is “extremely narrow in scope” and applies only to errors in the NLRB’s

jurisdiction. Nat’l Air Traffic Controllers Ass’n AFL-CIO v. Fed. Serv. Impasses Panel, 437 F.3d

1256, 1263 (D.C. Cir. 2006) (“Air Traffic Controllers”). For employers, “the triggering of

Leedom jurisdiction is even more difficult, since the D.C. Circuit has stated that ‘the Leedom v.

Kyne remedy was not devised for the benefit of an employer.’” Schwarz Partners Packaging,

LLC v. NLRB, 12 F. Supp. 3d 73, 84 (D.D.C. 2014) (BAH) (quoting Mia. Newspaper Printing

Pressmen’s Union Local 46 v. McCulloch, 322 F.2d 993, 997 n.7 (D.C. Cir. 1963)).

       In an effort to invoke Leedom, Plaintiff relies predominantly on Univ. of Great Falls v.

NLRB, 278 F.3d 1335 (D.C. Cir. 2002) and its progeny. There, the D.C. Circuit held that the

NLRB has no jurisdiction over non-profit institutions that are religiously affiliated. Id. at 1347.

As Plaintiff rightly notes, the NLRB has consistently run afoul of this principle, resulting in

regular reversal and vacatur by the D.C. Circuit. See Duquesne Univ. of the Holy Spirit v. NLRB,

947 F.3d 824, 830-31 (D.C. Cir. 2020) (collecting cases). As Duquesne explains, as soon a

religious educational institution alerts the NLRB to its status, the NLRB “‘should [] know[]



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immediately’” that the Free Exercise Clause places the institution “‘patently beyond the NLRB’s

jurisdiction.’” 947 F.3d at 831 (quoting Carroll Coll. v. NLRB, 558 F.3d 568, 574 (D.C. Cir.

2009)). Here, Plaintiff argues that it should again be “patently” obvious to the NLRB that it

lacks jurisdiction over the Consortium, a non-profit, religious educational institution.

       Even so, a clear jurisdictional defect does not alone endow a federal district court with

jurisdiction over a challenge to an NLRB proceeding. A plaintiff must also demonstrate that

“barring review by the district court would wholly deprive [it] of a meaningful and adequate

means of vindicating its statutory rights.” Air Traffic Controllers, 437 F.3d at 1263 (internal

quotation marks and brackets omitted). In an effort to meet this substantial hurdle, Plaintiff

relies predominantly on two nonbinding, out of Circuit district-court cases: Caulfield v. Hirsch,

No. 76-279, 1977 WL 15572 (E.D. Pa. 1977) and McCormick v. Hirsch, 460 F. Supp. 1337

(M.D. Pa. 1978). In both cases, a district court vacated NLRB proceedings on First Amendment

grounds. 1977 WL 1552, at *1; 360 F. Supp. at 1348. Yet both decisions, nonbinding as they

are, now stand on shaky ground even in their own Circuit, where the Third Circuit subsequently

held that Leedom creates no jurisdiction for a “pre-election suit.” NLRB v. Interstate Dress

Carriers, Inc., 610 F.2d 99, 106 (3d Cir. 1976) (noting further that “it is not clear that the Court

intended that employers, who do, after all, have [appellate] review [], be able to assert pre-

election suits under [Leedom]”). In any event, binding appellate precedent instructs this Court

that all appellate review in the Court of Appeals must be vitiated before a district court may

exercise subject matter jurisdiction over a challenge to NLRB proceedings. See Cox v.

McCulloch, 315 F.2d 48, 50 (D.C. Cir. 1963). Because appellate review is available to Plaintiff

after NLRB’s ultimate decision, Leedom does not apply under the law of this Circuit. See

Schwarz, 12 F. Supp. 3d at 87.



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       Lastly, Plaintiff relies on the general principle that “[t]he loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury.”

Elrod v. Burns, 427 U.S. 347, 373 (1976). Plaintiff is correct that a religious institution would

have to wait until its appellate rights are perfected by an ultimate NLRB decision on the merits

before it may sue in a Court of Appeals to vindicate its First Amendment freedoms. See Am.

Fed. of Labor v. NLRB, 308 U.S. 401, 409 (1940) (holding that appellate review of

representation proceedings is unavailable until a decision is issued). Yet constitutional claims

have no “talismanic significance” in bypassing administrative review channeled exclusively to

the federal Courts of Appeals. Jarkesy v. SEC, 803 F.3d 9, 18 (D.C. Cir. 2015).

                                       IV. CONCLUSION

       For the foregoing reasons, the Court DISMISSES this action sua sponte for lack of

subject matter jurisdiction and DENIES AS MOOT Plaintiff’s [6] Motion for Preliminary

Injunction and Defendant’s [19] Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404(a). An

appropriate order accompanies this memorandum opinion.

Dated: April 11, 2023
                                                         /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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